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F|LED |N THE
U.S. D|STR|CT COURT

JOSCph H. Hal`l`lllg'£OH EASTERN nisTslcT oF WASH|NGTON
Umted States_ Attorney _ _ _ SEP 2 8 2018
Eastern District of Washington f

Patrick J. Cashman SEAN F‘ MCAWY' CLEF'§/§pm

SPDK.ANE. WASH|NGTON

Assistant United States Attorney _
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UNITED STATES DISTRICT COURT _
FOR THE EASTERN DISTRICT OF WASHINGTON

U`.N"ITED STATES OF AMERICA,
Piaimiff, 2;17-CR~i32-ToR-2
Vs. Plea Agreernent
DAVID R. BISHOP,
Defendant.

 

Plaintiff, United States of Ainerica, by and through Joseph H. Harrington,
United States Attorney for the Eastern District of Washington, and Patrick J. _
Cashman, Assistant United States Attorney for the Eastern District of Washington,
and Defendant David R. Bishop and the Defendant’s counsels, Ainy Rubin and David
Fletoher, agree to the following Plea Agreeinent: l

l) Guilt\LPlea and Maxnnum St_atutorv Penalties:

The Defendant agrees to plead guilty to Count 2 of the Indictment filed on
October 17, 2017, charging the Defendant With Possession With Intent to Distribute 50
Grams or More of Actual l\/Iethamphetamine, in violation of 21 U.S.C. §841(a)(1),
(b)(l)(A)(viii). The Defendant understands that the charge contained in the Indictment
is a Class A felony. The Defendant also understands that the maximum statutory
penalty for Possession With Intent to Distribute 50 Grams or More ofActual
Methamphetamine, in violation of 21 U.S.C. §841(a)(1), (b)(l)(A)(viii), is: not less

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than 10 years nor more than a life term of imprisonment; a fine not to exceed
$10,000,000; a term of supervised release of not less than 5 years up to a life term;
denial of certain federal benefits; and a $100 special penalty assessment

The Defendant understands that a violation of a condition of supervised release
carries an additional penalty of re-imprisonment for all or part of the term of
supervised release without credit for time previously served on post-release
Supervision.

2) Denial of Federal Benefits:

The Defendant understands that by entering this plea of guilty the Defendant is
no longer eligible for assistance under any state program funded under part A of title
IV of the Social Security Act (concerning Temporary Assistance for Needy Families)
or benefits under the food stamp program or any state program carried out under the
Food Stamp Act. 21 U.S.C. §862a. Further, the Court may deny the Defendant’s
eligibility to any grant, contract, loan, professional license, or commercial license
provided by an agency of the United States or by appropriated funds of the United
States. 21 U.S.C. §862.

3) The Court is Not a Party to the Agreement:

The Court is not a party to this Plea Agreement and may accept or reject this
Plea Agreement Sentencing is a matter that is solely within the discretion of the
Court. The Defendant understands that the Court is under no obligation to accept any
recommendations made by the United States and/or by the Defendant; that the Court
will obtain an independent report and sentencing recommendation from the U.S.
Probation Office; and that the Court may, in its discretion, impose any sentence it
deems appropriate up to the statutory maximums stated in this Plea Agreement

The Defendant acknowledges that no promises of any type have been made to
the Defendant with respect to the sentence the Court will impose in this matter. The

Defendant understands that the Court is required to consider the applicable sentencing

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guideline range, but may depart upward or downward under the appropriate
circumstances

The Defendant also understands that should the sentencing judge decide not to
accept any of the parties’ recommendations, that decision is not a basis for
withdrawing from this Plea Agreement or a basis for withdrawing this plea of guilty.

4) Waiver of Constitutional Rig@:

The Defendant understands that by entering this plea of guilty the Defendant is
knowingly and voluntarily waiving certain constitutional rights, including:

a) The right to a jury trial;

b) The right to see, hear and question the Witnesses;

c) The right to remain silent at trial;

d) The right to testify at trial; and

e) The right to compel witnesses to testify.

While the Defendant is waiving certain constitutional rights, the Defendant
understands the Defendant retains the right to be assisted through the sentencing and
any direct appeal of the conviction and sentence by an attomey, who will be appointed
at no cost if the Defendant cannot afford to hire an attorney. The Defendant also
acknowledges that any pretrial motions currently pending before the Court are waived.

5) Elements of the Offense:

The United States and the Defendant agree that in order to convict the
Defendant of Possession With lntent to Distribute 50 Grams or More of Actual
Methamphetarnine, in violation of 21 U.S.C. §841(a)(1), (b)(l)(A)(viii), the United
States would have to prove beyond a reasonable doubt the following elements:

First, on or about May 5 , 2017, the Defendant, in the Eastern District of
Washington, knowingly possessed 50 grams or more of actual
methamphetamine, a Schedule II controlled substances; and

Second, the Defendant possessed it with the intent to distribute it to another
person.

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6) Factual Basis and Statement of Facts:

The United States and the Defendant stipulate and agree that the following facts
are accurate; that the United States could prove these facts beyond a reasonable doubt
at trial; and these facts constitute an adequate factual basis for Defendant’s guilty plea.
This statement of facts does not preclude either party from presenting and arguing, for
sentencing purposes, additional facts which are relevant to the guideline computation
or sentencing, unless otherwise prohibited in this agreement

On April 8, 2017, Sergeant Chris Foreman of the Columbia River Drug T ask
Force (“CRDTF”) learned that J ames McGuire (“McGuire”) was arrested the previous
evening at the Mill Bay Casino in Manson, Washington on a felony Department of
Corrections Escape warrant During the booking process at the Chelan County Jail,
officers located methamphetaminein McGuire’s wallet. Sergeant Foreman, using the
Chelan County Jail Phone Recording system began listening to McGuire’s jail phone
calls. Sergeant Foreman determined that between April 8, 2017 and May 4, 2017,
McGuire maintained regular contact with the Defendant, David R. Bishop.

While listening to these phone conservations, Sergeant Foreman heard McGuire
and Bishop speaking in code, which based on Sergeant Foreman’s training and
experience was consistent with drug distribution McGuire and Bishop were heard

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using terminology such as “clean out, timesheet,” and “accountant.” McGuire and
Bishop also used numbers, colors, and at one point made up vehicle VIN (Vehicle
Identitication Numbers) to discuss the type and quantity of controlled substances left
over.

Based upon his review of McGuire’s jail calls, Sergeant Foreman applied for
two search Warrants. The first search warrant was executed at Bishop’s residence on
May 5, 2017. This residence is located in Wenatchee, Washington, which is within the
Eastem District of Washington. During the execution of the search warrant, Bishop,

post-Miranda, informed Sergeant Foreman that he had a silver lock box (as previously

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discussed during jail phone calls) in his vehicle. This lock box contained
approximately 324 grams of methamphetamine, approximately 7.5 grams of heroin,
approximately $3,000 U.S. currency, and a digital scale. Bishop further stated to
Sergeant Foreman that he was selling and delivering drugs for McGuire, since
approximately late February or early March 2017. Bishop further advised Sergeant
Foreman that on or about April 27, 2017 he delivered another lock box to the
residence of McGuire’s cousin.

Subsequently, Sergeant Foreman requested a search warrant for this residence
Upon execution of the search warrant, officer located the lock box. Contained within
the lock box was heroin and methamphetamine Also located in the box was
approximately $17,588.25 in U.S. currency and drug ledgers showing how much
individual’s owed McGuire.

The parties stipulate for purposes of establishing the elements of this offense
that Bishop possessed With the intent to distribute to another person at least 50 grams
are actual methamphetamine, a Schedule ll controlled substance.

7) The United States Agrees:

a) Dismissall s l:

At the time of sentencing, the United States agrees to move to dismiss Counts l
and 3 of the Indictment, which charges the Defendant with:

Count l: Conspiracy to Possess with the Intent to Distribute -
Methamphetamine and Heroin, in violation of 21 U.S.C. § 846; and

Count 3: Possession with the lntent to Distribute 100 Grams or More of
a Mixture or Substance Containing a Detectable Amount of Heroin, in
~ violation of21 U.S.C. § 841(a)(l), (b)(l)(B)(i), and 18_U.S.C. § 2.
b) Not to File Additional Charges:
The United States Attomey’s Office for the Eastern District of Washington

agrees not to bring any additional charges against the Defendant based upon

information in its possession at the time of this Plea Agreement and arising out of

United States v. David R. Bishop - Plea Agreement - 5

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Defendant’s conduct involving illegal activity charged in this Indictment, unless the
Defendant breaches this Plea Agreement any time before or after sentencing

c) Not to File Inforrnation for Penaltv Enhancement:

The United States agrees not to file an enhanced penalty information to
establish the Defendant’s prior drug conviction, pursuant to 21 U.S.C. § 851.

8) United States Sentencing Guideline Calculations:

The Defendant understands and acknowledges that the United States Sentencing
Guidelines (hereinafter “U.S.S.G.") are applicable to this case and that the Court will
determine the Defendant’s applicable sentencing guideline range at the time of
sentencing

a) Base foense Level:

The United States and the Defendant make no agreement as to the base offense
level.

The United States believes that the base offense level for Possession with lntent
to Distribute 50 Grams or More of Actual Methamphetamine, in violation of 21
U.S.C. §841(a)(l), (b)( 1)(A)(viii) is 30, based on a combined drug quantity that is the
equivalent to greater than 1000 kilograms but less than 3,000 kilograms or marijuana
See U.s.s.G. §2D1.1(a)(5), (c)(s). '

b) Specific Offense Characteristics:

The parties make no agreement as to the application of specific offense
characteristics

c) Role in the Offense :

The parties make no agreement as to the application of role enhancements
based upon the Defendant’s role in the offense. l

d) Acceptance of Responsibilitv:

 

If the Defendant pleads guilty and demonstrates a recognition and an

affirmative acceptance of personal responsibility for the criminal conduct; provides

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complete and accurate information during the sentencing process; does not commit
any obstructive conduct; accepts this Plea Agreement; and enters a plea of guilty no
later than September 20, 2018, the United States will move for a three (3) level
downward adjustment in the offense level for the Defendant’s timely acceptance of
responsibility, pursuant to U.S.S.G. §3El.1(a) and (b).

The Defendant and the United States agree that the United States may at its
option and upon written notice to the Defendant, not recommend a three (3) level
downward reduction for acceptance of responsibility if, prior to the imposition of _
sentence, the Defendant is charged or convicted of any criminal offense whatsoever or
if the Defendant tests positive for any controlled substance

d. Final Adiusted Offense Level

The parties make no agreement as to the final adjusted offense level.

e) Criminal Histog;:

The United States and the Defendant understand that the Defendant’s criminal
history computation is tentative and that ultimately the Defendant’s criminal history
category will be determined by the Court after review of the Presentence Investigative
Report. The United States and the Defendant have made no agreement and make no
representations as to the criminal history category, which shall be determined after the
Presentence Investigative Report is completed

9) Departures/Variance: _

T he Defendant intends to request a downward departure or variance from the
sentencing guidelines The United States reserves its right to oppose any downward
departure or variance d

10) Incarceration:

The United States agrees to recommend that the Court impose a sentence no
greater than 120 months incarceration The Defendant may recommend any legal

sentence he deems appropriate

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ll) Criminal Fine:

The United States and the Defendant are free to make whatever
recommendation concerning the imposition of a criminal fine that they believe is
appropriate

12) Supervised Release:

The United States and the Defendant agree to recommend that the Court impose
a 5 year term of supervised release to include the following special conditions, in
addition to the standard conditions of supervised release:

a) that the Defendant participate and complete such drug testing and drug

treatment programs as the Probation Officer directs; and

b) that the Defendant’s person, residence, office, vehicle, and belongings are

subject to search at the direction of the Probation Officer.

13) Mandatorv SDecial Penaltv Assessment:

The Defendant agrees to pay the $100 mandatory special penalty assessment to
the Clerk of Court for the Eastem District of Washington, at or before sentencing,
pursuant to 18 U.S.C. §3013 and shall provide a receipt from the Clerk to the United
States before sentencing as proof of this payment

14) Pavments While Incarcerated:

If the Defendant lacks the financial resources to pay the monetary obligations
imposed by the Court, the Defendant agrees to earn the money to pay toward these
obligations by participating in the Bureau of Prisons’ Inmate Financial Responsibility
Program. l

15) Additional Violations of Law Can Void Plea Agreement:

The Defendant and the United States agree that the United States may at its

option and upon written notice to the Defendant, withdraw from this Plea Agreement

26 " or modify its recommendation for sentence if, prior to the imposition of sentence, the

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Defendant is charged or convicted of any criminal offense whatsoever or if the
Defendant tests positive for any controlled substance

16) Appeal Rights:

In return for the concessions that the United States has made in this Plea
Agreement, the Defendant agrees to waive the right to appeal the sentence if the Court
imposes a prison term of no longer than one hundred twenty (120) months Should
the Defendant successfully move to withdraw from this Plea Agreement or should the
Defendant’s conviction on Count 2 of the Indictment be dismissed, set aside, vacated,
or reversed, this Plea Agreement shall become null and void; the United States may
move to reinstate all counts of Indictment No. 2: l7~CR-182~TOR-2; and the United
States may prosecute the Defendant on all available charges involving or arising from
this investigation Nothing in this Plea Agreement shall preclude the United States
from opposing any post-conviction motion for a reduction of sentence or other attack
of the conviction or sentence, including, but not limited to, proceedings pursuant to 28
U.S.C. §2255 (writ of habeas corpus).

ll 17) lntegi_ration Clause:

The United States and the Defendant acknowledge that this document

constitutes the entire Plea Agreement between the United States and the Defendant,

and no other promises, agreements, or conditions exist between the United States and

 

the Defendant concerning the resolution of the case. This Plea Agreement is binding
only upon the United States Attomey’s Office for the Eastem District of Washington,
and cannot bind other federal, state or local authorities The United States and the
Defendant agree that this agreement cannot.be modified except in a writing that is

signed by the United States and the Defendant

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Annrovals and Signatures

Agreed and submitted on behalf of the United States Attomey’S Office for
the Eastem District of Washington.

Joseph H. Harrington

 

 

United States Attorney‘
M 6 - 20 '- /'¢’/
m . Cashman Date

Assi t U.S. Attomey

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I have read this Plea Agreement and have carefully reviewed and discussed
every part of the agreement with my attorney l understand and voluntarily enter into
this Plea Agreement Furthermore, 1 have consulted With my attorney about my
rights, I understand those rights, and l am satisfied with the representation of my
attorney in this case No other promises or inducements have been made to me, other
than those contained in this Plea Agreement and no one has threatened or forced me in

any way to enter into this Plea Agreement I am agreeing to plead guilty because l am

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Date

 

1 have read the Plea Agreement and have discussed the contents of the
agreement with my client. The Plea Agreement accurately and completely sets forth
the entirety of the agreement between the parties 1 concur in my client's decision to
plead guilty as set forth in the Plea Agreement, There is no legal reason why the
Court should not accept the Defendant’s plea of guilty.

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P\tmy Rubin Date
Attomey for the Defendant

United States v. David R. Bishop - Plea Agreement ~ l l

